    Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 1 of 19 PageID #: 950




                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE


    In re                                                                 Chapter 11

                                                                          Bankruptcy Case No.
    Boy Scouts of America and Delaware BSA, LLC, 1                        20-10343 (LSS)
                        Debtors.

                                                                          (Jointly Administered)

    National Union Fire Insurance Co. of Pittsburgh,
    PA, et al.,
                          Appellants.

    v.                                                                    Case No. 22-cv-01237-RGA

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.


               APPELLANTS’ STATEMENT OF ISSUES ON APPEAL AND DESIGNATION
                    OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL


             Pursuant to Rule 8009 of the Federal Rules of Bankruptcy Procedure, Appellants submit

    the following: (i) statement of issues to be considered on appeal from the Supplemental Findings

    of Fact and Conclusions of Law and Order Confirming the Third Modified Fifth Amended

    Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts of America

    and Delaware BSA, LLC (D.I. 10316) (the “Confirmation Order”), accompanying Opinion (D.I.

    10136), and all other subsumed judgments, orders, and decrees brought up for review in the

    appeal; and (ii) designation of items to be included in the record on appeal.




1
         The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

         {01854865;v1}                                         1
  Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 2 of 19 PageID #: 951




       I.              Statement of Issues to Be Presented On Appeal

             Appellants present the following statement of issues to be considered on appeal.

             1.        Whether the bankruptcy court erred in concluding that the Plan complies with the

applicable provisions of Title 11 of the United States Code pursuant to 11 U.S.C. § 1129(a)(1).

             2.        Whether the bankruptcy court erred in concluding that the Plan complies with

11 U.S.C. § 1129(a)(3).

             3.        Whether the bankruptcy court erred in confirming a Plan, including the

channeling injunction and third-party releases, that impairs Appellants’ contractual and other

rights.

             4.        Whether the bankruptcy court erred in confirming a Plan that permits the

assignment or transfer of rights under the Appellants’ contracts, including by not requiring the

assignment or transfer of the obligations owed to the Appellants under such contracts.

             5.        Whether the bankruptcy court erred in confirming a Plan that provides for a

claims allowance process that violates 11 U.S.C. § 502 and related Federal Rules of Bankruptcy

Procedure.

       II.             Designations Of Items To Be Included In The Record On Appeal

             Appellants submit the following designation of items to be included in the record on appeal,

which includes all exhibits, appendices, and/or addenda:

       A.              Docket Entries

Item                   Date             Bankr. Dkt. No.                     Description
                  Filed/Entered
 1.                 2/18/2020           1                      Chapter 11 Voluntary Petition
 2.                 3/1/2021            2293                   Amended Chapter 11 Plan of
                                                               Reorganization for Boy Scouts of
                                                               America and Delaware BSA, LLC


       {01854865;v1}                                   2
 Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 3 of 19 PageID #: 952




3.             3/1/2021    2294            Disclosure Statement for the Amended
                                           Chapter 11 Plan of Reorganization for
                                           Boy Scouts of America and Delaware
                                           BSA, LLC
4.             3/1/2021    2295            Motion to Approve Debtors’ Motion for
                                           Entry of an Order Approving the
                                           Disclosure Statement and the Form and
                                           Manner of Notice
5.             4/13/2021   2592            Second Amended Chapter 11 Plan of
                                           Reorganization for Boy Scouts of
                                           America and Delaware BSA, LLC
6.             4/14/2021   2594            Amended Disclosure Statement for the
                                           Second Amended Chapter 11 Plan
7.             4/14/2021   2595            Notice of Filing of Redlines of Plan and
                                           Disclosure Statement
8.             5/06/2021   3271            Great American’s Objection to Debtors’
                                           Disclosure Statement for Second
                                           Amended Chapter 11 Plan
9.             5/06/2021   3278            Joinder by Travelers Casualty and
                                           Surety Company, Inc., to Great
                                           American’s Objection to Debtors’
                                           Disclosure Statement
10.            5/06/2021   3285            Argonaut Insurance Company’s
                                           Objection to Debtors’ Disclosure
                                           Statement
11.            5/10/2021   3523            The AIG Companies’ Objection to
                                           Motion for Approval of Debtors’
                                           Disclosure Statement
12.            5/10/2021   3549            The Allianz Insurers’ Objection to the
                                           Debtors’ Disclosure Statement
13.            5/10/2021   3578            Objection of Liberty Mutual Insurance
                                           Company to the Disclosure Statement
14.            5/12/2021   3740            Joinder of General Star Indemnity
                                           Company to the Allianz Insurers’
                                           Objection to the Debtors’ Disclosure
                                           Statement


      {01854865;v1}                   3
 Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 4 of 19 PageID #: 953




15.            5/12/2021   3856            Century Indemnity Company’s
                                           Objections to the Debtors’ Disclosure
                                           Statement
16.            5/16/2021   4107            Proposed Amendments to Second
                                           Amended Chapter 11 Plan of
                                           Reorganization for Boy Scouts of
                                           America
17.            5/21/2021   4716            Transcript regarding Hearing Held
                                           5/19/2021 Re: Disclosure Statement
18.            6/18/2021   5368            Third Amended Chapter 11 Plan of
                                           Reorganization for Boy Scouts of
                                           America and Delaware BSA, LLC
19.            6/18/2021   5371            Amended Chapter 11 Combined Plan
                                           and Disclosure Statement
20.            6/17/2021   5372            Notice of Filing of Redlines of Third
                                           Amended Plan and Proposed
                                           Amendments to Disclosure Statement
21.            7/1/2021    5466            Motion for Entry of an Order
                                           Authorizing The Debtors To Enter Into
                                           and Perform under the Restructuring
                                           Support Agreement
22.            7/2/2021    5484            Fourth Amended Chapter 11 Plan of
                                           Reorganization for Boy Scouts of
                                           America and Delaware BSA, LLC
23.            7/2/2021    5485            Amended Disclosure Statement for
                                           Fourth Amended Chapter 11 Plan of
                                           Reorganization
24.            7/2/2021    5486            Notice of Filing of Redlines of Fourth
                                           amended Plan and Amended Disclosure
                                           Statement
25.            7/8/2021    5529            Transcript regarding Hearing Held
                                           7/7/2021 Re: Status Conference
26.            7/22/2021   5684            Certain Insurers Objection to Debtors’
                                           Motion for Entry of an Order
                                           Authorizing the Debtors to Enter Into
                                           and Perform under the Restructuring


      {01854865;v1}                   4
 Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 5 of 19 PageID #: 954




                                           Support Agreement
27.            7/22/2021   5707            [SEALED] Objection to the Debtors’
                                           Motion for Entry of an Order
                                           Authorizing the Debtors to Enter Into
                                           and Perform Under the Restructuring
                                           Support Agreement
28.            7/22/2021   5708            [SEALED] Declaration of Daniel
                                           Shamah in Support of Century’s
                                           Objections to Debtors’ Motion for Entry
                                           of Order Authorizing Debtors to Enter
                                           into and Perform under the
                                           Restructuring Support Agreement
29.            7/23/2021   5723            Final Redacted Version of Insurers’
                                           Objection to the Debtors’ Motion for
                                           Entry of an Order Authorizing the
                                           Debtors to Enter Into and Perform under
                                           the Restructuring Support Agreement
30.            7/26/2021   5759            Debtors Omnibus Reply in Further
                                           Support of Debtors’ Motion for Entry of
                                           an Order Authorizing Debtors to Enter
                                           Into and Perform under the
                                           Restructuring Support Agreement
31.            7/26/2021   5760            Supplemental Brief of Coalition of
                                           Abused Scouts for Justice, Official
                                           Committee of Tort Claimants, and
                                           Future Claims Representative In
                                           Support of Debtors’ Motion for Entry of
                                           an Order Authorizing Debtors to Enter
                                           Into and Perform under the
                                           Restructuring Support Agreement
32.            8/09/2021   5925            Hartford’s Supplement to Objection to
                                           Debtors’ Motion for Entry of an Order
                                           Authorizing the Debtors to Enter into
                                           and Perform Under the Restructuring
                                           Support Agreement
33.            8/9/2021    5932            Redacted Version of Supplemental
                                           Objection of Century Indemnity to
                                           Motion to Authorize Debtors’ Motion
                                           for Entry of an Order Authorizing the

      {01854865;v1}                   5
 Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 6 of 19 PageID #: 955




                                           Debtors to Enter into and Perform under
                                           the Restructuring Support Agreement
34.            8/9/2021    5934            Certain Excess Insurers’ Joinder in
                                           Century’s Supplemental Objection
35.            8/9/2021    5935            AIG’s Joinder to Century’s
                                           Supplemental Objection and Partial
                                           Joinder to Hartford’s Supplemental
                                           Objection
36.            8/11/2021   5961            Debtors’ Motion for Leave to file
                                           Debtors’ Response to Certain
                                           Supplemental Objections
37.            8/17/2021   6052            Certain Insurers’ Supplemental
                                           Objection to Motion for Approval of
                                           Debtors’ Disclosure Statement
38.            8/17/2021   6053            Joinder of Arch Insurance Company to
                                           Certain Insurers’ Objections
39.            8/17/2021   6055            The Allianz Insurers’ Joinder to the
                                           Certain Insurers’ Supplemental
                                           Objection to Disclosure Statement
40.            8/17/2021   6056            Certain Excess Insurers’ Supplemental
                                           Objection to Debtors’ Disclosure
                                           Statement
41.            8/17/2021   6057            Joinder and Supplemental Objection of
                                           Liberty Mutual Insurance Company to
                                           the Disclosure Statement
42.            8/17/2021   6062            Certain Insurers’ Superseding
                                           Objections to the Disclosure Statement
                                           for Debtors’ Fourth Amended Plan
43.            8/18/2021   6083            Century’s Objections to the Debtors’
                                           Disclosure Statement
44.            8/20/2021   6098            Transcript regarding Hearing Held
                                           8/19/2021 Re: Ruling on RSA Motion
45.            9/15/2021   6212            Fifth Amended Chapter 11 Plan of
                                           Reorganization for Boy Scouts of
                                           America and Delaware BSA, LLC


      {01854865;v1}                   6
 Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 7 of 19 PageID #: 956




46.            9/16/2021    6249           Debtors’ Omnibus Reply in Support of
                                           Debtors’ Motion for Entry of an Order
                                           Approving Disclosure Statement
47.            9/29/2021    6429           Modified Fifth Amended Chapter 11
                                           Plan of Reorganization
48.            9/29/2021    6430           Redline of Modified Fifth Amended
                                           Chapter 11 Plan of Reorganization
49.            9/29/2021    6431           Amended Disclosure Statement
50.            9/30/2021    6432           Redline of the Amended Disclosure
                                           Statement
51.            9/30/2021    6436           Transcript regarding Hearing Held
                                           9/28/2021 Re: Disclosure Statement
52.            9/30/2021    6438           Order Approving the Disclosure
                                           Statement and Notice
53.            12/18/2021   7832           Second Modified Fifth Amended
                                           Chapter 11 Plan of Reorganization
54.            12/18/2021   7833           Second Modified Fifth Amended
                                           Chapter 11 Plan, and Blackline
55.            12/18/2021   7834           Second Modified Fifth Amended
                                           Chapter 11 Plan, and Blackline
56.            1/07/2022    8190           The Official Committee of Tort
                                           Claimants’ Status Report Re: Second
                                           Modified Fifth Amended Chapter 11
                                           Plan of Reorganization
57.            1/7/2022     8210           Joinder of the Zalkin Law Firm, P.C., et
                                           al., to the Official Committee of Tort
                                           Claimants’ Status Report
58.            1/11/2022    8234           Debtors’ Response to the Official
                                           Committee of Tort Claimants’ Status
                                           Report
59.            2/4/2022     8685           Munich Reinsurance America, Inc.,
                                           Joinder to Certain Objections and
                                           Separate Objection to the Plan
60.            2/4/2022     8695           [SEALED] Certain Insurers’ Objection
                                           to Confirmation of Debtors’ Chapter 11

      {01854865;v1}                   7
 Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 8 of 19 PageID #: 957




                                           Plan
61.            2/4/2022    8696            [SEALED] Allianz Insurers’ Objection
                                           to Second Modified Fifth Amended
                                           Chapter 11 Plan
62.            2/4/2022    8697            [SEALED] Appendix to Certain
                                           Insurers Objection
63.            2/4/2022    8698            [SEALED] Joinder and Objection of
                                           Liberty Mutual Insurance Company to
                                           the Second Modified Fifth Amended
                                           Chapter 11 Plan of Reorganization
64.            2/4/2022    8699            Old Republic Insurance Company
                                           Joinder to Objections and Supplemental
                                           Objection
65.            2/4/2022    8700            Joinder by Travelers and Surety
                                           Company, Inc., et al., to Allianz
                                           Insurers’ Objection
66.            2/5/2022    8703            Joinder of Traders and Pacific Insurance
                                           Company to Certain Insurers’ Objection
67.            2/9/2022    8763            Joinder and Objection of Liberty Mutual
                                           Insurance Company to the Second
                                           Modified Fifth Amended Chapter 11
                                           Plan of Reorganization
68.            2/10/2022   8772            Eleventh Mediator’s Report
69.            2/10/2022   8778            Allianz Insurers’ Objection to Second
                                           Modified Fifth Amended Chapter 11
                                           Plan
70.            2/10/2022   8785            Certain Insurers’ Statement in Advance
                                           of February 11, 2022 Status Conference
71.            2/11/2022   8793            Proposed Redacted Version of Certain
                                           Insurers Objection to Confirmation of
                                           Debtors Chapter 11 Plan
72.            2/14/2022   8811            Unsealed Joint FCR and Coalition
                                           Motion for Entry of an Order Striking
                                           Portions of Bates Reports and
                                           Precluding Testimony Related to
                                           Improper Valuation Opinion

      {01854865;v1}                   8
 Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 9 of 19 PageID #: 958




73.            2/15/2022   8812            Unsealed Version of the Limited
                                           Objection of the Tort Claimants’
                                           Committee to Findings Related to the
                                           Valuation of Abuse Claims
74.            2/15/2022   8813            Third Modified Fifth Amended Chapter
                                           11 Plan of Reorganization
75.            2/15/2022   8814            Third Modified Fifth Amended Chapter
                                           11 Plan of Reorganization, and
                                           Blackline
76.            2/15/2022   8815            Fourth Amended Plan Supplement
77.            2/15/2022   8816            Exhibits I-1 and J-1 to Third Modified
                                           Fifth Amended Chapter 11 Plan
78.            2/15/2022   8817            Exhibits I-2, I-3, I-4, and J-2 to Third
                                           Modified fifth Amended Chapter 11
                                           Plan
79.            2/15/2022   8819            Transcript regarding Hearing Held
                                           2/11/2022 Re: Status Conference
80.            2/15/2022   8825            Supplement to Appendix to Certain
                                           Insurers’ Objection to Confirmation
81.            2/16/2022   8858            Amended Proposed Redacted Versions
                                           of Certain Insurers Objection to
                                           Confirmation of Debtors Chapter 11
                                           Plan and Appendix
82.            2/25/2022   9009            Transcript regarding Hearing Held
                                           2/24/2022 Re: Status Conference
83.            2/25/2022   9033            Certain Insurers Supplemental
                                           Objection to Confirmation of Plan
84.            3/2/2022    9097            Fifth Amended Plan Supplement
85.            3/2/2022    9101            [SEALED] Certain Insurers’ Opposition
                                           to Limited Objection of the Tort
                                           Claimants’ Committee and Joint FCR
                                           and Coalition Motion Regarding Expert
                                           Reports and Valuation Opinions
86.            3/2/2022    9104            [SEALED] Declaration of Betty X.
                                           Yang in Support of Certain Insurers’


      {01854865;v1}                   9
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 10 of 19 PageID #: 959




                                           Opposition
87.             3/3/2022    9118           Debtors’ Response to the Joint FCR and
                                           Coalition Motion and Objection
88.             3/3/2022    9136           Transcript regarding Hearing Held
                                           3/2/2022 Re: Motions in Limine
89.             3/7/2022    9177           Unsealed Versions of Certain Insurers’
                                           Opposition and Declaration
90.             3/9/2022    9252           Transcript regarding Hearing Held
                                           3/8/2022 Re: Pretrial Conference
91.             3/10/2022   9273           Declaration of Bruce Griggs
92.             3/10/2022   9274           Declaration of Michael Burnett
93.             3/10/2022   9275           Supplemental Declaration of Catherine
                                           Nownes-Whitaker
94.             3/11/2022   9279           Declaration of Devang Desai
95.             3/11/2022   9280           Declaration of Brian Whittman
96.             3/12/2022   9309           Declaration of Adrian Azer
97.             3/13/2022   9311           Certain Insurers’ Evidentiary Objections
                                           to Witness Declarations
98.             3/14/2022   9316           Declaration of William S. Sugden
99.             3/14/2022   9317           Declaration of Makeda Murray
100.            3/15/2022   9337           Objection of Certain Insurers to the
                                           Declaration of Adrian Azer
101.            3/15/2022   9339           Debtors’ Response to the Certain
                                           Insurers’ Evidentiary Objection to
                                           Declaration of Bruce Griggs
102.            3/15/2022   9341           Transcript regarding Hearing Held
                                           3/14/2022 RE: Confirmation (Day 1).

103.            3/16/2022   9348           Debtors’ Response to Objection of the
                                           Certain Insurers to the Declaration of
                                           Adrian Azer
104.            3/16/2022   9354           Transcript regarding Hearing Held
                                           3/16/2022 RE: Confirmation (Day 2).

       {01854865;v1}                 10
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 11 of 19 PageID #: 960




105.            3/17/2022   9368           Certain Insurers’ Evidentiary Objections
                                           to Witness Declarations
106.            3/17/2022   9388           Declaration of Charles E Bates
107.            3/18/2022   9389           Transcript regarding Hearing Held
                                           3/16/2022 RE: Confirmation (Day 3).
108.            3/18/2022   9391           Debtors’ Response to Certain Insurers’
                                           Evidentiary Objections
109.            3/19/2022   9395           Declaration of James L. Patton, Jr.
110.            3/19/2022   9396           Declaration of Aaron Lundberg
111.            3/19/2022   9397           Declaration of Catherine Nownes-
                                           Whitaker
112.            3/19/2022   9398           Declaration of Nancy Gutzler
113.            3/19/2022   9400           Declaration of Jessica Horewitz
114.            3/19/2022   9401           Declaration of Paul Rytting
115.            3/20/2022   9402           Certain Insurers’ Evidentiary Objections
                                           to Witness Declarations
116.            3/21/2022   9403           Debtors’ Response to Certain Insurers’
                                           Evidentiary Objections
117.            3/21/2022   9404           Certain Insurers’ Evidentiary Objections
                                           to Witness Declarations
118.            3/21/2022   9406           Transcript Regarding Hearing Held
                                           3/18/2022 RE: Confirmation (Day 4).
119.            3/21/2022   9407           Transcript Regarding Hearing Held
                                           3/18/2022 RE: Confirmation (Day 5).
120.            3/21/2022   9408           Transcript Regarding Hearing Held
                                           03/17/2022 RE: Confirmation Hearing.
121.            3/21/2022   9409           Transcript Regarding Hearing Held
                                           03/18/2022 RE: Confirmation Hearing.
122.            3/21/2022   9411           Agreed Order Regarding Certain
                                           Insurers’ Motions in Limine
123.            3/22/2022   9426           Certain Insurers’ Evidentiary Objections
                                           to Witness Declarations


       {01854865;v1}                 11
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 12 of 19 PageID #: 961




124.            3/22/2022   9428           Future Claimants’ Representative’s
                                           Response to Certain Insurers’
                                           Evidentiary Objections
125.            3/22/2022   9429           Debtors’ Response to Certain Insurers’
                                           Evidentiary Objections
126.            3/23/2022   9446           Declaration of Andrew Hammond
127.            3/23/2022   9449           Declaration of Paul Rytting
128.            3/23/2022   9454           Transcript Regarding Hearing Held
                                           3/21/2022 RE: Confirmation (Day 6).
129.            3/23/2022   9455           Transcript Regarding Hearing Held
                                           3/22/2022 RE: Confirmation (Day 7).
130.            3/24/2022   9481           Declaration of Jason P. Amala
131.            3/25/2022   9482           Transcript Regarding Hearing Held
                                           3/23/2022 RE: Confirmation (Day 8).
132.            3/25/2022   9490           Transcript Regarding Hearing Held
                                           03/24/22 RE: Confirmation (Day 9).
133.            3/25/2022   9491           Declaration of Tancred Schiavoni
134.            3/28/2022   9497           Transcript Regarding Hearing Held
                                           03/25/2022 RE: Trail.
135.            3/29/2022   9507           Declaration Concerning Certification of
                                           Records by Liberty Mutual
136.            3/29/2022   9508           Stipulation Between Debtors, Century,
                                           Hartford, Zurich, and Clarendon
137.            3/29/2022   9509           Stipulation Between Debtors, Settling
                                           Insurers, and Certain Insurers Regarding
                                           Admissibility of Insurance Policies
138.            3/30/2022   9517           Transcript Regarding Hearing Held
                                           03/28/2022 RE: Confirmation (Day 11).
139.            3/30/2022   9529           Stipulation Between Debtors and
                                           Certain Insurers Regarding Admission
                                           of Insurance Policies
140.            3/31/2022   9530           Transcript Regarding Hearing Held
                                           3/29/2022 RE: Confirmation (Day 12).


       {01854865;v1}                 12
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 13 of 19 PageID #: 962




141.            4/1/2022    9544           Transcript Regarding Hearing Held
                                           3/29/2022 RE: Confirmation (Day 13).
142.            4/4/2022    9562           Transcript Regarding Hearing Held
                                           3/30/2022 RE: Confirmation (Day 13).
143.            4/4/2022    9563           Transcript Regarding Hearing Held
                                           3/31/2022 RE: Confirmation (Day 14).
144.            4/4/2022    9564           Transcript Regarding Hearing Held
                                           4/1/2022 RE: Confirmation (Day 15).
145.            4/4/2022    9576           Stipulation Between Debtors and
                                           Certain Insurers Regarding
                                           Admissibility of Exhibits
146.            4/5/2022    9578           Transcript Regarding Hearing Held
                                           4/4/2022 RE: Confirmation (Day 16).
147.            4/5/2022    9591           Stipulation Between Debtors and Lujan
                                           Claimants Regarding Admissibility of
                                           Exhibits
148.            4/5/2022    9594           Sixth Amended Plan Supplement
149.            4/8/2022    9616           Transcript Regarding Hearing Held
                                           4/6/2022 RE: Confirmation (Day 17).
150.            4/13/2022   9638           Transcript Regarding Hearing Held
                                           4/7/2022 RE: Confirmation (Day 18).
151.            4/13/2022   9639           Transcript Regarding Hearing Held
                                           4/11/2022 RE: Confirmation (Day 19).
152.            4/14/2022   9646           Transcript Regarding Hearing Held
                                           4/12/2022 RE: Confirmation (Day 20).
153.            4/14/2022   9648           Transcript Regarding Hearing Held
                                           4/13/2022 RE: Confirmation (Day 21).
154.            4/18/2022   9656           Transcript Regarding Hearing Held
                                           4/14/2022 RE: Confirmation (Day 22).
155.            4/20/2022   9673           Order Regarding Stipulation
156.            4/20/2022   9674           Order Regarding Stipulation
157.            4/20/2022   9675           Order Regarding Stipulation
158.            4/20/2022   9676           Order Regarding Stipulation

       {01854865;v1}                 13
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 14 of 19 PageID #: 963




159.            4/20/2022   9677           Order Regarding Stipulation
160.            4/21/2022   9689           Statement Regarding Closing Argument
                                           of Liberty Mutual Insurance Company
161.            4/21/2022   9690           Letter from Claimants Regarding
                                           Liberty Mutual’s Objection
162.            4/22/2022   9696           Third Modified Fifth Amended Chapter
                                           11 Plan of Reorganization (with
                                           Technical Modifications)
163.            4/22/2022   9697           Third Modified Fifth Amended Chapter
                                           11 Plan of Reorganization (with
                                           Technical Modifications), and Blackline
164.            4/22/2022   9798           Seventh Amended Plan Supplement
165.            4/22/2022   9699           Revised Proposed Findings of Fact,
                                           Conclusions of Law, and Order
                                           Confirming the Third Modified Fifth
                                           Amended Chapter 11 Plan of
                                           Reorganization (with Technical
                                           Modifications), and Blackline
166.            4/27/2022   9746           Certain Insurers’ Letter Response
167.            7/29/2022   10136          Opinion
168.            8/12/2022   10188          Debtors’ Motion to Amend and
                                           Supplement Findings of Fact and
                                           Conclusions of Law in Confirmation
                                           Opinion
169.            8/15/2022   10192          Certain Insurers’ Objection to Debtors’
                                           Motion to Shorten Notice
170.            8/19/2022   10215          Transcript Regarding Hearing Held
                                           8/18/2022
171.            8/24/2022   10247          Certain Insurers’ Objection to Motion to
                                           Amend and Supplement The Findings of
                                           Fact and Conclusions of Law
172.            8/29/2022   10258          Debtors’ Omnibus Reply in Support of
                                           Debtors Motion to Amend and
                                           Supplement Findings of Fact and
                                           Conclusions of Law


       {01854865;v1}                 14
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 15 of 19 PageID #: 964




173.            8/29/2022   10259          Joint Reply of Tort Claimants’
                                           Committee, Coalition of Abused Scouts
                                           for Justice, Pfau Cochran Vertetis
                                           Amala PLLC and Zalkin Law Firm, PC.
                                           And the Future Claimants
                                           Representative to Certain Insurers'
                                           Objection
174.            8/29/2022   10262          Chapter 11 Plan of Reorganization
                                           Third Modified Fifth Amended Chapter
                                           11 Plan of Reorganization (With
                                           Technical Modifications)
175.            8/29/2022   10265          Notice of Filing of Revised
                                           Supplemental Findings of Fact and
                                           Conclusions of Law
176.            9/2/2022    10288          Transcript Regarding Hearing Held
                                           9/1/2022
177.            9/6/2022    10295          Notice of Filing of Further Revised
                                           Supplemental Findings of Fact and
                                           Conclusions of Law
178.            9/6/2022    10296          Chapter 11 Plan of Reorganization //
                                           Third Modified Fifth Amended Chapter
                                           11 Plan of Reorganization (with
                                           Technical Modifications
179.            9/6/2022    10297          Notice of Filing of Blackline of
                                           Conformed Debtors Third Modified
                                           Fifth Amended Chapter 11 Plan of
                                           Reorganization
180.            9/7/2022    10304          Letter from The Hon. Judge Silverstein
                                           re: Language for Paragraph 51(b)
181.            9/8/2022    10316          Supplemental Findings of Fact and
                                           Conclusions of Law and Order
                                           Confirming the Third Modified Fifth
                                           Amended Chapter 11 Plan of
                                           Reorganization (with Technical
                                           Modifications)
182.            9/8/2022    10317          Transcript Regarding Hearing Held
                                           9/7/2022


       {01854865;v1}                 15
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 16 of 19 PageID #: 965




183.            9/21/2022   10378          Notice of Appeal filed by National
                                           Union Fire Insurance Company of
                                           Pittsburgh, PA, et al.
184.            9/21/2022   10379          Notice of Appeal filed by Travelers
                                           Casualty and Surety Company, Inc., et
                                           al.
185.            9/21/2022   10382          Notice of Appeal filed by Continental
                                           Insurance Company, et al.
186.            9/21/2022   10384          Notice of Appeal filed by Allianz
                                           Global Risks US Insurance Company, et
                                           al.
187.            9/21/2022   10386          Notice of Appeal filed by Argonaut
                                           Insurance Company and Colony
                                           Insurance Company
188.            9/21/2022   10388          Notice of Appeal filed by Arrowood
                                           Indemnity Company
189.            9/21/2022   10391          Notice of Appeal filed by Liberty
                                           Mutual Insurance Company, et al.
190.            9/21/2022   10392          Notice of Appeal filed by Old Republic
                                           Insurance Company
191.            9/21/2022   10393          Notice of Appeal filed by General Star
                                           Indemnity Company
192.            9/21/2022   10396          Notice of Appeal filed by Indian Harbor
                                           Insurance Company
193.            9/21/2022   10398          Notice of Appeal filed by Munich
                                           Reinsurance Company America, Inc.
194.            9/21/2022   10401          Notice of Appeal filed by Arch
                                           Insurance Company
195.            9/21/2022   10403          Notice of Appeal filed by Great
                                           American Assurance Company, et al.
196.            9/21/2022   10405          Notice of Appeal filed by Gemini
                                           Insurance Company
197.            9/21/2022   10407          Notice of Appeal filed by Traders and
                                           Pacific Insurance Company, et al.


       {01854865;v1}                 16
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 17 of 19 PageID #: 966




    B.              Exhibits

         The parties have agreed by stipulation that all exhibits admitted into the evidence at the

Confirmation Hearing shall be designated and that the parties shall cooperate to facilitate

transmittal of the record to the District Court. Attached as Exhibit A is a full list of what

Appellants understand to be all exhibits admitted into evidence.          In accordance with the

instructions of the Court, exhibits that have not been docketed in the Bankruptcy Court will be

submitted to the District Court in accordance with the Court’s further direction at the upcoming

Court Conference on October 7, 2022. Trial exhibits which are available on the Bankruptcy Court

docket have been so designated in Exhibit A by the inclusion of a docket index number in the

document description. Appellants reserve the right to seek to amend or supplement the exhibit list

included at Exhibit A to the extent necessary to add any omitted exhibits admitted at the

Confirmation Hearing.

                CERTIFICATION PURSUANT TO BANKRUPTCY RULE 8009(b)

    Appellants respectfully certify that they are not ordering any transcripts, as the relevant

 transcripts have been transcribed and docketed.




    {01854865;v1}                                17
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 18 of 19 PageID #: 967




Dated: October 3, 2022
                                          FINEMAN KREKSTEIN & HARRIS PC


                                      /s/ Deirdre M. Richards     _
                                      Deirdre M. Richards (DE Bar No. 4191)
                                      1300 N. King Street
                                      Wilmington, DE 19801
                                      Telephone: (302) 538-8331
                                      Facsimile: (302) 394-9228
                                      Email: drichards@finemanlawfirm.com

                                      -and-

                                      GIBSON, DUNN & CRUTCHER LLP
                                      Michael A. Rosenthal
                                      (pro hac vice forthcoming)
                                      Mitchell A. Karlan
                                      (pro hac vice forthcoming)
                                      James Hallowell
                                      (pro hac vice forthcoming)
                                      Keith R. Martorana
                                      (pro hac vice forthcoming)
                                      200 Park Avenue
                                      New York, NY 10166
                                      Telephone: (212) 351-4000
                                      Facsimile: (212) 351-4035
                                      Email: mrosenthal@gibsondunn.com
                                      mkarlan@gibsondunn.com
                                      jhallowell@gibsondunn.com
                                      kmartorana@gibsondunn.com

                                      GIBSON, DUNN & CRUTCHER LLP
                                      Richard Doren (pro hac vice forthcoming)
                                      Blaine H. Evanson (pro hac vice forthcoming)
                                      333 South Grand Avenue
                                      Los Angeles, CA 90071
                                      Telephone: (213) 229-7000
                                      Facsimile: (213) 229-7520
                                      Email: rdoren@gibsondunn.com
                                      bevanson@gibsondunn.com

                                      -and-




    {01854865;v1}                    18
Case 1:22-cv-01237-RGA Document 5 Filed 10/03/22 Page 19 of 19 PageID #: 968




                                      FORAN GLENNON PALANDECH PONZI
                                      & RUDLOFF P.C.
                                      Susan N.K. Gummow
                                      (pro hac vice forthcoming)
                                      222 N. LaSalle St., Suite 1400
                                      Chicago, IL 60601
                                      Telephone: (312) 863-5000
                                      Facsimile: (312) 863-5009
                                      Email: sgummow@fgppr.com

                                      Attorneys for National Union Fire Insurance
                                      Company of Pittsburgh, PA., Lexington
                                      Insurance Company, Landmark Insurance
                                      Company, and The Insurance Company of the
                                      State of Pennsylvania




   {01854865;v1}                     19
